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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                            :
                                                         :
                                                         :
SECURITIES AND EXCHANGE COMMISSION,                      :
                              Plaintiff,                 :       No. 1:23-cv-1346 (JSR)
                                                         :
           v.                                            :
                                                                 JURY TRIAL DEMANDED
                                                         :
 TERRAFORM LABS PTE LTD. and
 DO HYEONG KWON,                                         :
                                                         :
                              Defendants.                :
                                                         X

                       ANSWER TO SEC’S AMENDED COMPLAINT

       Defendants Terraform Labs PTE Ltd. (“TFL”) and Kwon Do Hyeong (together,

“Defendants”), by their undersigned attorneys, as and for their Answer to the Amended

Complaint (“AC”) filed by the Securities and Exchange Commission (the “SEC”), state as

follows:

                      DEFENDANTS’ PRELIMINARY STATEMENT

       1. The AC is based on unprecedented and ill-conceived legal theories (having neither

statutory support nor congressional authorization) that Defendants’ alleged distributions of UST,

LUNA, wLUNA, and MIR were “investment contract[s]” and thus “securit[ies]” subject to

registration under 15 U.S.C. § 77b(a)(1). That theory ignores, among many other things, that

UST, LUNA, wLUNA, and MIR each perform a number of functions that are distinct from the

functions of “securities” as the law has understood that term for decades. For example, UST was

a medium of exchange, moving value between jurisdictions and facilitating transactions. It was

not a security and the SEC has no authority to regulate it as one.
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       2. The SEC filed this Complaint 5 years after the Terra blockchain and ecosystem were

first created and after nearly 2 years of investigation (starting with MIR and mAssets). During

those periods, the SEC took no steps to prevent parties globally from transacting in UST, LUNA,

wLUNA, MIR, and mAssets, took no steps to prevent these ecosystems from growing, and took

no steps to prevent or inhibit the creation of new use cases by both TFL and third parties. The

SEC’s filing, based on a legal theory that has no statutory tether, amounts to picking

cryptocurrency winners and losers, given that the SEC has exempted bitcoin and (so far) ether

from similar attempts at regulation. As multiple members of Congress and SEC Commissioners

have recognized, the SEC lacks power to act in this space and its behavior threatens to damage

U.S. competitiveness and innovation.

       3. Defendants did not sell or distribute UST, LUNA, wLUNA, or MIR as investment

contracts, and did not sell mAssets as securities-based swaps. TFL has never offered or sold

UST, LUNA, wLUNA, or MIR as investments, and holders of those tokens did not acquire any

claim to the assets of TFL, hold any ownership interest in TFL, or have any entitlement to share

in TFL’s future profits (to the extent there were any). TFL never performed an initial coin

offering, did not offer or contract to sell future tokens as a way to raise money to build an

ecosystem, never promised “profits” to any holder of UST, LUNA, wLUNA, MIR, or mAssets,

and had no relationship at all with the vast majority of UST, LUNA, wLUNA, MIR, and mAsset

holders, nearly all of whom purchased or received those tokens from third parties on the open

market or received them programmatically through the use of a protocol.

       4. The small number of contracts an affiliate of TFL entered into with sophisticated,

institutional counterparties for sales of LUNA and MIR were not investment contracts, but

standard purchase and sale agreements with no promise of efforts by TFL or future profits.




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Neither TFL nor the subsidiary that sold the LUNA and MIR tokens had any explicit or implicit

obligation to any of those counterparties to expend efforts on their behalf; proceeds of LUNA

and MIR sales were not pooled in a common enterprise; and holders of LUNA and MIR could

not reasonably rely on the efforts of TFL or the selling subsidiary. Indeed, each such contract

stated on its cover page that no token should be construed, interpreted, classified, or treated as

enabling, or according any opportunity to any purchaser to participate in or receive profits,

income, or other payments or returns arising from or in connection with the seller, the project

group, the project, the tokens, or the proceeds of the token sale, or to receive sums paid out of

such profits, income, or other payments or returns. These agreements also stated that the

purchasers were not relying on any representations other than those in the purchase agreements,

and the purchase agreements contained no representations regarding the elements of the test set

forth in SEC v. W.J. Howey Co., 328 U.S. 293 (1946).

       5. Although TFL held a large amount of LUNA from its genesis, that does not and cannot

render LUNA or wLUNA an investment contract. Many entities own large amounts of

commodities and participate heavily in the commodities markets. There is no credible argument

that substantial holdings convert those commodities or currencies into securities, nor has any

case so held.

       6. The theory asserted by the SEC in the AC would read the word “contract” out of

“investment contract,” and stretch the Howey test beyond all sensible recognition. As a matter of

economic substance, UST, LUNA, wLUNA, MIR, and mAssets categorically differ from what

Congress defined as “securities” and authorized the SEC to regulate.




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       7.      The AC tries to overcome these legal obstacles by mischaracterizing the record.

For example, the AC mischaracterizes all of the transactions involving LUNA and MIR,

regardless of their nature, purpose, or manner of execution, as a single “Offering.”

       8.      The SEC’s unbounded zeal to characterize every cryptocurrency company as

lawless is exemplified by two aspects of the AC:

               a.     The AC alleges that Chai Corporation worked in a specific way that it
       alleges was contrary to public disclosures about Chai. From the beginning of its nearly
       two-year investigation of Defendants through now, the SEC has not examined the source
       code for the programs that operated Chai’s platform: During a discovery conference,
       Defendants’ counsel asked the SEC’s counsel whether they had reviewed any Chai
       source code, and the SEC’s counsel said they had not and did not have copies of it.

                b.     The SEC makes allegations about Defendants’ interactions with a Swiss
       bank that it knew were untrue: At the time the SEC made the allegations in paragraph
       173, it possessed information obtained from the Swiss bank that directly disproved every
       allegation in that paragraph. Bank records provided to the SEC and in the SEC’s
       possession when it filed this case showed that Mr. Kwon transferred no cryptocurrency at
       all to the Swiss Bank after March 2022, that he never transferred Bitcoin to the Swiss
       bank, and that all transfers by TFL were made for the purposes of paying salaries, rent
       and other ordinary business expenses, legal fees, and into a court registry to moot a
       Mareva injunction entered in Singapore.

                       RESPONSE TO THE SEC’S ALLEGATIONS1

                                          SUMMARY

       1.      Defendants deny the allegations in paragraph 1.

       2.      Defendants deny the allegations in paragraph 2.

       3.      Defendants deny the allegations in paragraph 3.




1
 Defendants deny all titles, headings, footnotes, subheadings, and any other material not
contained in numbered paragraphs unless otherwise noted. When a document (or statements,
conclusions, or other material referenced therefrom) is referenced in this Answer or the AC, it
speaks for itself and Defendants deny any allegations or characterizations based on the
document. Defendants reserve all rights with regard to the existence, authenticity, accuracy, and
admissibility of such documents.



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        4.      Defendants admit that at various times LUNA was one of the ten largest

cryptocurrencies by circulating value, that UST was a stablecoin that was algorithmically pegged

to the U.S. dollar that in April 2022 had a circulating value of more than $17 billion, and

otherwise deny the allegations in paragraph 4.

        5.      Defendants deny the allegations in paragraph 5.

        6.      Defendants deny the allegations in paragraph 6.

        7.      Defendants admit that the price of UST fell below $1 during late May 2021 and

then recovered, refer to the cited or quoted materials for the content and context thereof and note

that those materials speak for themselves, and otherwise deny the allegations in paragraph 7.

        8.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 8, and the allegations are therefore denied.

        9.      Defendants admit that there was significant selling pressure on UST and LUNA in

May 2022, lack sufficient knowledge to admit or deny the allegations in the penultimate and

final sentences in paragraph 9 and those allegations are therefore denied, and otherwise deny the

allegations in paragraph 9.

                                             VIOLATIONS

        10.     Defendants deny the allegations in paragraph 10.

        11.     Defendants deny the allegations in paragraph 11.

        12.     Defendants deny the allegations in paragraph 12.

                    NATURE OF PROCEEDINGS AND RELIEF SOUGHT

        13.     Paragraph 13 states a legal conclusion to which no response is required.

        14.     Defendants admit that the SEC seeks the relief described in paragraph 14 but deny

that it is entitled to any of the relief sought.




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                                          DEFENDANTS

        15.     TFL admits that it is a private company registered and headquartered in Singapore

and has had employees located in the U.S., states that neither TFL nor cryptocurrencies it

developed were required to be registered with the SEC (and notes that the SEC has never

provided guidance on how cryptocurrencies could be registered even if a developer had wanted

to try to do so), and otherwise denies the allegations in paragraph 15.

        16.     Mr. Kwon admits the first, fourth, fifth, and sixth sentences of paragraph 16 and

otherwise denies the allegations in paragraph 16.

                                  JURISDICTION AND VENUE

        17.     Paragraph 17 states legal conclusions as to which no response is required.

        18.     Defendants deny the allegations in paragraph 18.

        19.     Defendants deny the allegations in paragraph 19.

        20.     Defendants deny the allegations in paragraph 20.

                         STATUTORY AND LEGAL FRAMEWORK

        21.     Paragraph 21 states legal conclusions as to which no response is required.

        22.     Paragraph 22 states legal conclusions as to which no response is required.

        23.     Paragraph 23 states legal conclusions as to which no response is required.

        24.     Paragraph 24 states legal conclusions as to which no response is required.

        25.     Paragraph 25 states legal conclusions as to which no response is required.

                            BACKGROUND ON CRYPTO ASSETS

        26.     Defendants admit that paragraph 26 states a definition of what the SEC calls

“crypto assets,” but deny that it is the sole such definition and note that it is not the term




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Defendants used for tokens developed by TFL, and otherwise deny the allegations in paragraph

26.

       27.      Defendants admit that some blockchains and distributed ledgers are peer-to-peer

databases that operate on networks of computers to record transactions in immutable digital

forms and that they generally rely on cryptographic principles and algorithms for multiple

aspects of their operations, that blockchains can be used in the operations of smart contracts as

that term is generally used in connection with, inter alia, cryptocurrencies and decentralized

financial applications, and otherwise deny the allegations in paragraph 27.

       28.      Defendants admit that many blockchains employ “consensus” mechanisms for

various purposes and that cryptocurrencies can be bought and sold on centralized and

decentralized markets as well as through peer-to-peer transactions that do not involve any

markets, and otherwise deny the allegations in paragraph 28.

       29.      Defendants deny the allegations in paragraph 29.

       30.      Paragraph 30 states legal conclusions as to which no response is required.

                                              FACTS

I.     Defendants Created and Developed the Terraform Ecosystem.

       31.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 31.

       32.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 32.




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       33.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 33.

       34.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 34.

       35.      Defendants deny the allegations in paragraph 35.

       36.      Defendants refer to the publicly available information relating to the circulating

supply of UST for the content and context thereof and note that those materials speak for

themselves, and otherwise deny the allegations in paragraph 36.

       37.      Defendants admit that TFL created other cryptocurrency-related products,

including the Mirror Protocol, which was introduced to the public in December 2020, that the

Mirror Protocol enabled users to programmatically create mAssets that tracked any asset in the

world with a continuous price feed, refer to the cited or quoted materials for the content and

context thereof, note that those materials speak for themselves, and otherwise deny the

allegations in paragraph 37.

       38.      Defendants admit that the Mirror Protocol programmatically generated MIR

tokens, refer to the Mirror Protocol documentation for the context and content thereof, and

otherwise deny the allegations in paragraph 38.

II.    Terraform’s Crypto Assets Were Offered and Sold As Securities.

       39.      Defendants deny the allegations in paragraph 39.




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       40.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 40.

       41.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 41.

       42.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 42.

       43.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 43.

       A.       LUNA

                1.     Investment of Money.

       44.      Defendants deny the allegations in paragraph 44.

                2.     Common Enterprise.

       45.      Defendants deny the allegations in paragraph 45.

       46.      Defendants deny the allegations in paragraph 46.

       47.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 47.

       48.      Defendants admit the second and third sentences and otherwise deny the

allegations of paragraph 48.




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                3.     Reasonable Expectation of Profits From Defendants’ Managerial
                       Efforts.

       49.      Defendants deny the allegations in paragraph 49.

       50.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 50.

       51.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 51.

       52.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 52.

       53.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 53.

       54.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 54.

       55.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 55.

       56.      Defendants state that the public prices of LUNA during the referenced periods

speak for themselves and otherwise deny the allegations in paragraph 56.




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       57.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 57.

       58.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 58.

       B.       “Wrapped” LUNA

       59.      Defendants admit that UST, LUNA, and MIR were minted and transferred on the

TFL blockchain, that different blockchains are not always interoperable, that cryptocurrencies on

one blockchain are not always transferable to another blockchain, and deny the other allegations

in paragraph 60.

       60.      Defendants admit that cross-chain and bridge protocols generally permit holders

of cryptocurrencies to move those cryptocurrencies from one blockchain to another blockchain,

that wLUNA functions through a bridge from the Terra blockchain to the Ethereum blockchain,

and otherwise deny the allegations in paragraph 60.

       61.      Defendants admit that there was a mechanism for moving wLUNA from the

Ethereum blockchain to the Terra blockchain and refer to that mechanism for the context and

content thereof, and otherwise deny the allegations in paragraph 61.

                1.     Investment of Money.

       62.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 62, and the allegations are therefore denied.

                2.     Common Enterprise.

       63.      Defendants deny the allegations in paragraph 63.

       64.      Defendants deny the allegations in paragraph 64.


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                3.     Reasonable Expectation of Profits from Defendants’ Managerial
                       Efforts.

       65.      Defendants deny the allegations in paragraph 65.

       66.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 66.

       67.      Defendants deny the allegations in paragraph 67.

                4.     wLuna Is a Receipt for a Security.

       68.      The first sentence of paragraph 68 states a legal conclusion to which no response

is required, and Defendants deny the allegations in the remainder of paragraph 68.

       C.       UST

                1.     Investment of Money.

       69.      Defendants deny the allegations in paragraph 69.

                2.     Common Enterprise.

       70.      Defendants deny the allegations in paragraph 70.

       71.      Defendants deny the allegations in paragraph 71.

       72.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 72.

       73.      Defendants deny the allegations in paragraph 73.

                3.     Reasonable Expectation of Profits Based on the Managerial Efforts of
                       Defendants.

       74.      Defendants deny the allegations in paragraph 74.

       75.      Defendants deny the allegations in paragraph 75.




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       76.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 76.

       77.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 77.

       78.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 78.

       79.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 79.

       80.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 80.

       81.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 81, and the allegations are therefore denied.

       82.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 82, and the allegations are therefore denied.

       83.      Defendants deny the allegations in paragraph 83.

                4.     UST Is a Security Because It Could Be Exchanged for LUNA

       84.      Defendants deny the allegations in paragraph 84.

       D.       MIR Tokens

                1.     Investment of Money.


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       85.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 85, and the allegations are therefore denied with the exception of those entities who

purchased farmed MIR from TFL through Simple Agreements for Farmed Tokens, and

Defendants refer to those purchase agreements for the content and context thereof and otherwise

deny the allegations relating to such agreements.

                2.     Common Enterprise.

       86.      Defendants deny the allegations in paragraph 86.

       87.      Defendants deny the allegations in paragraph 87.

       88.      Defendants deny the allegations in paragraph 88.

       89.      Defendants admit that TFL farmed some MIR tokens as a service to certain

entities that desired to purchase MIR tokens without farming them themselves (and refer to those

agreements for the content and context thereof) and otherwise deny the allegations in paragraph

89.

                3.     Reasonable Expectation of Profits Based on Defendants’ Managerial
                       Efforts.

       90.      Defendants deny the allegations in paragraph 90.

       91.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 91.

       92.      Defendants deny the allegations in paragraph 92.

       93.      Defendants admit that the Mirror Protocol was developed to provide benefits to its

users and as an example of a use case for the Terra blockchain, and otherwise deny the

allegations in paragraph 93.




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       94.      Defendants admit that the Mirror Protocol was developed and maintained to

provide benefits to its users and as an example of a use case for the Terra blockchain, and

otherwise deny the allegations in paragraph 94.

       95.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 95.

       96.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 96.

       97.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 97.

       E.       mAsset Transactions Were Security-Based Swaps

       98.      Defendants deny the allegations in paragraph 98.

       99.      Defendants deny the allegations in paragraph 99.

       100.     Defendants deny the allegations in paragraph 100.

       101.     Defendants deny the allegations in paragraph 101.

       102.     The first sentence of paragraph 102 states legal conclusions to which no response

is denied. Defendants deny the allegations in the remainder of paragraph 102.

       103.     Paragraph 103 states legal conclusions as to which no response is required.

       104.     Paragraph 104 states legal conclusions as to which no response is required.

III.   Defendants Offered and Sold Crypto Asset Securities in Unregistered Transactions

       105.     Defendants deny the allegations in paragraph 105.




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       106.      Defendants deny the allegations in paragraph 106.

       107.      Defendants deny the allegations in paragraph 107.

       108.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 108.

       109.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 109.

       110.      Defendants deny the allegations in paragraph 110.

       111.      TFL states that it engaged in open market transactions involving LUNA, none of

which were on U.S.-based platforms, lacks sufficient knowledge or information relating to which

“crypto asset trading platforms” were “available to U.S. investors” and therefore denies those

allegations, and otherwise denies the allegations in paragraph 111.

       112.      Defendants admit that TFL entered into contracts to farm MIR tokens for certain

entities, refer to those contracts for the content and context thereof, note that those contracts

speak for themselves, and otherwise deny the allegations in paragraph 112.

       113.      Defendants deny the allegations in paragraph 113.

       114.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 114.

       115.      Defendants admit that the website referenced in the last sentence of paragraph

115 enabled Mirror Protocol users to interact with the Mirror Protocol and otherwise deny the

allegations in paragraph 115.




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       116.      Defendants deny the allegations in paragraph 116.

       117.      Defendants deny the allegations in paragraph 117.

IV.    Terraform and Kwon Misled, Deceived, and Defrauded Investors

       118.      Defendants deny the allegations in paragraph 118.

       119.      Defendants deny the allegations in paragraph 119.

       120.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 120.

       A.        Terraform and Kwon Deceived Investors About Chai

       121.      Defendants deny the allegations in paragraph 121.

       122.      Defendants deny the allegations in paragraph 122.

       123.      Defendants admit that Chai was a mobile payment service provider in Korea

created by Mr. Kwon and Daniel Shin and otherwise deny the allegations in paragraph 123.

       124.      Defendants admit that at various times Chai and TFL shared office space and

personnel and that Mr. Kwon was for a time on Chai’s board, and otherwise deny the allegations

in paragraph 124.

       125.      Defendants admit that Messrs. Kwon and Shin separated TFL from Chai, that Mr.

Kwon continued as TFL’s CEO and moved TFL’s offices in Korea, that many TFL employees

worked solely for TFL thereafter, and that Mr. Kwon continued as a director of Chai for some

period of time. Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 125.

       126.      Defendants deny the allegations in paragraph 126.




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       127.      Defendants deny the allegations in paragraph 127.

       128.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 128.

       129.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 129.

       130.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 130.

       131.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 131.

       132.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 132.

       133.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 133.

       134.      Defendants deny the allegations in paragraph 134.

       135.      Defendants deny the allegations in paragraph 135.

       136.      Defendants deny the allegations in paragraph 136.




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       137.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 137.

       138.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 138.

       139.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 139.

       140.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 140.

       141.      Defendants deny the allegations in paragraph 141.

       142.      Defendants deny the allegations in paragraph 142.

       143.      Defendants deny the allegations in paragraph 143.

       144.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 144.

       145.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 145.

       146.      Defendants deny the allegations in paragraph 146.

       147.      Defendants deny the allegations in paragraph 147.




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       148.      Defendants deny the allegations in paragraph 148.

       149.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 149.

       150.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, lack sufficient knowledge regarding

what supposed “U.S.-based retail and institutional investors believed” or “found” “significant”

and therefore deny such allegations, and otherwise deny the allegations in paragraph 150.

       151.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, lack sufficient knowledge regarding

what a supposed “U.S.-based institutional investors believed” or “found” “significant” and

therefore deny such allegations, and otherwise deny the allegations in paragraph 151.

       152.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 152.

       B.        Terraform and Kwon Mislead Investors about the May 2021 De-peg

       153.      Defendants deny the allegations in paragraph 153.

       154.      Defendants deny the allegations in paragraph 154.

       155.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 155.

       156.      Defendants admit that UST maintained its peg from 2019 through May 2021 and

otherwise deny the allegations in paragraph 156.




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       157.      Defendants admit that the price of UST declined during certain parts of May

2021, that Mr. Kwon was called by an executive of the U.S. Trading Firm on the morning of

May 23, 2021 (U.S. Central time) and called that executive during the afternoon of May 23, 2021

(U.S. Central time), and otherwise deny the allegations in paragraph 157.

       158.      Defendants deny the allegations in paragraph 158.

       159.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 159.

       160.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 160.

       161.      Defendants lack sufficient knowledge to admit or deny the allegations in

paragraph 161, and the allegations are therefore denied.

       162.      Defendants deny the allegations in paragraph 162.

       163.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 163.

       164.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 164.

       165.      Defendants refer to the cited or quoted materials for the content and context

thereof and note that those materials speak for themselves, and otherwise deny the allegations in

paragraph 165.




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       166.    Defendants deny the allegations in paragraph 166.

       167.    Defendants deny the allegations in paragraph 167.

       168.    Defendants deny the allegations in paragraph 168.

       169.    Defendants deny the allegations in paragraph 169.

       C.      May 2022 Collapse of the Terraform Ecosystem

       170.    Defendants admit that UST lost its peg in May 2022 and did not recover despite

the publicly discussed efforts of TFL and LFG to retore the peg; state that the cause of the depeg

appears to have been concerted action by certain market participants to depress the price of UST;

refer to the publicly available price information for UST, LUNA, and MIR for the content and

context thereof; and otherwise deny the allegations in paragraph 170.

       171.    Defendants admit that UST, LUNA, wLUNA, and MIR lost most of their value

in May 2022 due to market events and otherwise deny the allegations in paragraph 171.

       172.    Defendants state that no Defendant ever advised anyone to make purchases such

as those alleged in paragraph 172. Defendants lack sufficient knowledge regarding the

allegations in paragraph 172, and the allegations are therefore denied.

       173.    Defendants deny the allegations in paragraph 173.

                                FIRST CLAIM FOR RELIEF
                           Fraud in the Offer of Sale of Securities
                       (Violation of Section 17(a) of the Securities Act)

       174.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       175.    Defendants deny the allegations in paragraph 175.

       176.    Defendants deny the allegations in paragraph 176.

                              SECOND CLAIM FOR RELIEF
                Fraud in Connection with the Purchase or Sale of Securities
       (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Thereunder)


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       177.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       178.    Defendants deny the allegations in paragraph 178.

       179.    Defendants deny the allegations in paragraph 179.

                             THIRD CLAIM FOR RELIEF
 Control Person Liability under Section 20(a) of the Exchange Act for Violation of Section
                 10(b) of the Exchange Act and Rule 10b-5 Thereunder

       180.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       181.    Mr. Kwon denies the allegations in paragraph 181.

       182.    Mr. Kwon denies the allegations in paragraph 182.

                              FOURTH CLAIM FOR RELIEF
                         Unregistered Offers and Sales of Securities
                   Violation of Sections 5(a) and 5(c) of the Securities Act

       183.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       184.    Defendants deny the allegations in paragraph 184.

       185.    Defendants deny the allegations in paragraph 185.

                              FIFTH CLAIM FOR RELIEF
   Unregistered Offer of Security-Based Swaps with Non-Eligible Contract Participants
                     (Violations of Section 5(e) of the Securities Act)

       186.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       187.    Defendants deny the allegations in paragraph 187.

       188.    Defendants deny the allegations in paragraph 188.




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                              SIXTH CLAIM FOR RELIEF
 Effecting Transactions in Security-Based Swaps with Non-Eligible Contract Participants
                     (Violations of Section 6(l) of the Exchange Act)

       189.    Defendants repeat and reallege their responses to the allegations in paragraphs 1

through 173.

       190.    Defendants deny the allegations in paragraph 190.

       191.    Defendants deny the allegations in paragraph 191.

                                 AFFIRMATIVE DEFENSES

       Defendants allege, assert, and state the following defenses as separate and distinct

defenses to the AC. By virtue of asserting these affirmative defenses, Defendants do not assume

any burden of proof, persuasion, or production not legally assigned to them.

           FIRST AFFIRMATIVE DEFENSE: FAILURE TO STATE A CLAIM

       The AC fails to state a claim upon which relief may be granted.

  SECOND AFFIRMATIVE DEFENSE: UST, LUNA, WLUNA, MIR, AND MASSETS
                       ARE NOT SECURITIES

       Defendants did not violate any provisions of the Securities Act or Securities Exchange

Act because (a) UST, LUNA, wLUNA, and MIR are not securities or “investment contracts” and

no distributions or sales of UST, LUNA, wLUNA, or MIR were “investment contracts”; (b)

mAssets are not security-based swaps and no sales of mAssets were security-based swaps; and

(c) neither Defendant could be deemed the “issuer” or a statutory seller of UST, LUNA,

wLUNA, MIR, or mAssets. No registration was required in connection with any distribution or

sale of UST, LUNA, wLUNA, MIR, or mAssets.

  THIRD AFFIRMATIVE DEFENSE: NO LIKELIHOOD OF FUTURE VIOLATIONS

       The relief requested in the AC is inappropriate, in whole or in part, because the AC fails

to allege a reasonable likelihood of future violations by either Defendant.



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    FOURTH AFFIRMATIVE DEFENSE: LACK OF DUE PROCESS AND FAIR NOTICE
              AND VIOLATION OF THE SEPARATION OF POWERS

        Defendants did not have, and the SEC failed to provide, fair notice that Defendants’

alleged conduct was in violation of law, in contravention of Defendants’ due process rights. Due

process requires that laws give a person of ordinary intelligence a reasonable opportunity to

know what is prohibited and how to comply with the law. Here, due to the lack of clarity and

fair notice regarding Defendants’ obligations under the law, in addition to the lack of clarity and

fair notice regarding the SEC’s interpretation of the law, Defendants lacked fair notice that their

alleged conduct was prohibited.

        That lack of fair notice was further exacerbated when, in June 2018, the SEC’s then-

Director of Corporation Finance told cryptocurrency purchasers that the SEC did not consider

bitcoin or ether to be securities and would “put[] aside the fundraising that accompanied the

creation of [e]ther” and look instead at the “present state of [e]ther.”2 Defendants and other

reasonable observers further reasonably understood those remarks to indicate that the SEC would

permit present-day sales of cryptocurrencies given the market conditions for UST, LUNA,

wLUNA, MIR, and mAssets during the alleged “Relevant Period.” Indeed, members of the

SEC’s Office of General Counsel who participated in drafting the Hinman speech commented, in

editing that speech, that there was a “regulatory gap” in the SEC’s authority.

        The SEC’s claims also violate the separation of powers guaranteed by the U.S.

Constitution and the “major questions doctrine” articulated by the Supreme Court. Congress did

not give the SEC authority to regulate cryptocurrencies in the Securities or Securities Exchange




2
 Director William Hinman, Division of Corporation Finance, Remarks at the Yahoo Finance All
Markets Summit: Crypto, Digital Asset Transactions: When Howey Met Gary (Plastic), (June
14, 2018), https://www.sec.gov/news/ speech/speech-hinman-061418.


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Acts because no one could have conceived of cryptocurrencies then. This is confirmed by the

fact that Congress is presently considering multiple bills that would create, for the first time, a

statutory structure for regulating cryptocurrencies; some of those bills would assign some or all

of that function to the SEC, but some would leave the SEC mostly out of that structure.

       FIFTH AFFIRMATIVE DEFENSE: EXEMPTION FROM REGISTRATION

       Even if the Court were to find that UST, LUNA, wLUNA, or MIR constituted securities

or investment contracts within the meaning of the Securities Act or Securities Exchange Act, or

that mAssets constituted securities-based swaps, the SEC’s claims against Defendants are barred

because any distributions or sales of UST, LUNA, wLUNA, MIR, or mAssets were exempt from

the registration requirements of the Securities Act and Securities Exchange Act and the

regulations promulgated thereunder.

 SIXTH AFFIRMATIVE DEFENSE: LACK OF EXTRATERRITORIAL AUTHORITY

       The SEC’s attempt to exert authority over most or all of the transactions alleged in the

AC is impermissible because those transactions took place outside the U.S. and/or were made on

foreign exchanges.

          SEVENTH AFFIRMATIVE DEFENSE: STATUTE OF LIMITATIONS

       The SEC’s claims and request for civil monetary penalties are barred in whole or in part

by an applicable statute of limitations.

                                  RESERVATION OF RIGHTS

       Defendants presently have insufficient knowledge or information upon which to form a

belief as to whether there may be other, as yet unstated, defenses available to them, and therefore

expressly reserve, in accordance with applicable law, the right to amend or supplement their

Answer, defenses and all other pleadings, and the right to assert any and all other additional and




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further defenses as appropriate, including defenses that may be revealed by discovery or

otherwise.

                                   PRAYER FOR RELIEF

       WHEREFORE, the Defendants respectfully request that this Court enter a Final

Judgment:

       A.     Dismissing all claims in the Amended Complaint with prejudice and

       B.     Granting such further relief as the Court deems appropriate.

Dated: New York, New York
       August 14, 2023                      Respectfully submitted,

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